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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------------X
Dwayne Ambrose and Marlon Rowe
                             Plaintiffs,                                                     COMPLAINT AND
                                                                                             JURY DEMAND

                    -against-

THE CITY OF NEW YORK, NYPD DETECTIVE ALBERT LLOYD
SHIELD 1289, NYPD LIEUTENANT AIMAN AHMED SHIELD 3429,
NYPD DETECTIVE SALVATORE TRISCRITTI SHIELD 7881,
NYPD OFFICERS JOHN DOE # 1 to approximately # 10, the names
being fictitious, presently unknown, in their individual and official
capacities as employees of the New York City Police Department
                             Defendants.
-----------------------------------------------------------------------------------------X

Plaintiffs, Dwayne Ambrose and Marlon Rowe, by their attorney, Gregory Zenon, Esq., of The Law Office of
Gregory Zenon, allege the following, upon information and belief for this Complaint:

                            NATURE OF THE ACTION / PRELIMINARY STATEMENT

1.       This is a civil rights action for money damages brought pursuant to 42 U.S.C. §§ 1981, 1983, and 1988, the

Fourth, Fifth, and Fourteenth Amendments of the United States Constitution, Article I, Sections 6, 11, and 12 of the

Constitution of the State of New York, and the common law of the State of New York, against the City of New

York, the New York City Police Department, and against Defendant Police Officers named and unnamed, police

officers of the City of New York, in their individual and official capacities. Plaintiffs seek compensatory and

punitive damages, affirmative and equitable relief, an award of attorneys’ fees and costs, and such other relief as

this Court deems equitable and just.

                                                          JURISDICTION

2.       This Court has subject matter jurisdiction over the federal claims pursuant to 28 U.S.C. §1331 and 28
U.S.C. §1343 (3) and (4). Plaintiffs also assert jurisdiction over the City of New York under 28 U.S.C. §1331 and
§1367. Plaintiffs request this Court exercise pendent jurisdiction over those state law claims arising out of the same
common nucleus of operative facts as Plaintiffs’ federal claims.
                                                               VENUE

3.       Under 28 U.S.C. § 1391(b), venue is proper in the Eastern District of New York because the defendants
NEW YORK CITY POLICE OFFICERS named and unnamed have their Precincts within the boundaries of said
District and because said district is where the events or omissions giving rise to the claims occurred.
                                                              PARTIES
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4.      Plaintiffs at all times relevant hereto resided in the City and State of New York.
5.      Plaintiff Ambrose is a 37 year old African American US citizen residing in Brooklyn who has previously
been targeted by the NYPD as a result of racial animus and falsely arrested.
6.      Plaintiff Rowe is a 43 year old African American US citizen residing in Brooklyn who has previously been
targeted by the NYPD as a result of racial animus and falsely arrested.
7.      That at all times hereinafter mentioned, and upon information and belief, the defendant, THE CITY OF
NEW YORK, was at all times relevant hereto, a municipal corporation duly organized and existing pursuant to the
laws, statutes and charters of the State of New York.
8.      THE NEW YORK CITY POLICE DEPARTMENT was at all times relevant hereto, an agency of the
defendant THE CITY OF NEW YORK.

9.      That at all times hereinafter mentioned, and on information and belief, defendant Police Officers were at all
times relevant hereto, employees of the defendant CITY OF NEW YORK, as police officers employed by THE
NEW YORK CITY POLICE DEPARTMENT.

10.     At all times mentioned herein, defendants acted under color of state and local law, to wit, under color of
statutes, ordinances, regulations, policies, customs and usages of the City of New York and the State of New York.

11.     That at all times hereinafter mentioned, and upon information and belief, defendant police officers herein
acted both personally and in their official representative capacities as police officers employed by the defendants,
THE CITY OF NEW YORK and THE NEW YORK CITY POLICE DEPARTMENT. And that each and all of the
acts of the individual defendants alleged herein were done by the individual defendants and each of them under
cover and pretense of the statutes and laws of the State of New York, and under and by virtue of their authority as
police officers and employees of defendant, THE CITY OF NEW YORK.

12.     That as a result of the foregoing, the defendant, THE CITY OF NEW YORK, is liable for the individual
defendant’s acts pursuant to the doctrine of “respondeat superior.”

          FACTUAL ALLEGATIONS RE: PLAINTIFF AMBROSE SHOOTING CASE FALSE ARREST

13.     On 26 September 2013 at approximately 4p.m., a shooting occurred on MacDougal St. and Stove Ave in
Brooklyn, NY and at least one person was injured.
14.     On 8 October 2013 at approximately 11:15 a.m. Plaintiff Ambrose was arrested by defendant police
officers including but not limited to defendant SALVATORE TRISCRITTTI for the shooting. He was at 1107 East
80th St. in Brooklyn with his girlfriend moving his car when the police apprehended him. He was taken to the 73
Precinct where police interrogated him in violation of his rights and threatened to confiscate his vehicle if he did
not confess to the shooting.
15.     By 9 October 2013 he was formally charged with attempted murder and related charges and taken to
Central Booking in Brooklyn.
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16.      On 10 October 2013 he was arraigned. Bail was set which was not made and he was held in custody until
approximately 12 October 2013 when he was able to make bail.
17.      Due to the false arrest in this case Plaintiff Ambrose lost out on job opportunities which were available and
open with Con Edison. Plaintiff Ambrose had prior work experience with Con Edison and was aware of their policy
not to hire persons with pending violent felony cases, which he confirmed by contacting their human resources
department. He was informed that but for his pending case he would be hired due to his eligibility based on his
prior employment.
18.      Additionally Plaintiff Ambrose suffered worsened child visitation issues in Family Court because the
mother of his child used the pending charges against him to worsen said conditions, including but not limited to a
reduction of his visitation from weekends to a single one-hour visit every two weeks.
19.      Plaintiff Ambrose appeared in court approximately ten times, missing work for his court dates, until 6
March 2015 when the case against him was dismissed and the record sealed. See Attachment 1: Kings County
Criminal Court Complaint 2013KN078595 and Attachment 2: Certificate of Disposition Dismissal.
20.      As a direct and proximate result of the malicious and outrageous conduct of defendants as set forth above,
Plaintiff suffered injuries including but not limited to assault and battery, emotional trauma, harm and distress,
mental anguish, fear, embarrassment, and humiliation, loss of liberty, loss of property, psychological injury an
suffering.


          FACTUAL ALLEGATIONS RE: PLAINTIFFS’ FALSE ARREST ON 12 NOVEMBER 2013 FOR
                              MARIJUANA RELATED CHARGES
21.      On 12 November 2013 at approximately 8pm in the vicinity of East 23rd Street and Ditmas Ave in
Brooklyn, NY, plaintiffs were in their vehicle, a BMW, when defendant police officers including but not limited to
defendants AIMAN AHMED and ALBERT LLOYD approached them and removed them from the vehicle without
cause or justification.
22.      Defendant Officers then placed Plaintiffs up against the rear of the BMW and searched plaintiffs without
cause or justification.
23.      Defendant Officers then found and took approximately one thousand dollars from Plaintiff Ambrose
without cause or justification.
24.      Defendant Officers then handcuffed plaintiffs behind the back without cause or justification.
25.      Plaintiffs were then transported to the 70 precinct without cause or justification.
26.      Plaintiffs were denied food at said precinct.
27.      Eventually Plaintiff Rowe was given a Desk Appearance Ticket.
28.      Eventually Plaintiff Ambrose was taken to Central Booking where he was strip-searched without cause or
justification.
29.      On 13 November 2013, after approximately 24 hours in custody, Plaintiff Ambrose was arraigned and
released on his own recognizance.
30.      Plaintiff Ambrose appeared in court approximately between 5-10 times, missing days of work.
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31.      Additionally as the case progressed Plaintiffs were informed that there was video surveillance of their arrest
which Plaintiffs demanded and which would have demonstrated that they had committed no crimes.
32.      Eventually the cases against Plaintiff were terminated in their favor. See Attachment 3: Kings County
Criminal Court Complaint and Attachment 4: Certificate of Disposition Dismissal for Plaintiff Ambrose.
33.      To date the NYPD has refused to acknowledge taking Plaintiff Ambrose’s money; no voucher was
provided despite multiple requests.
                                        FIRST CAUSE OF ACTION
                               (FALSE ARREST AND ILLEGAL IMPRISONMENT)

34.      Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
35.      Defendants subjected Plaintiffs to false arrest, imprisonment, and deprivation of liberty without probable
cause.
36.      Defendants have deprived Plaintiffs of civil, constitutional and statutory rights and have conspired to
deprive Plaintiffs of such rights and are liable to Plaintiffs under 42 U.S.C. §§ 1983 and 1985 and the New York
State Constitution.
37.      As a result of the false arrest, imprisonment, and deprivation of liberty, Plaintiffs were damaged in the sum
of One Million ($1,000,000.00) Dollars each.
                                   SECOND CAUSE OF ACTION
              (MUNICIPAL LIABILTY and NEGLIGENT HIRING, TRAINING and SUPERVISION)
38.      Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
39.      Defendant CITY OF NEW YORK is liable for the damages suffered by the Plaintiffs as a result of the
conduct of its employees, agents, and servants.
40.      Defendant CITY OF NEW YORK knew or should have known of their employees’, agents’, or servants’
propensity to engage in the illegal and wrongful acts detailed above.
41.      Upon information and belief, defendants and their supervisors have in the past falsely arrested individuals
without probable cause, and made, and allowed other fellow police officers to make false entries in official police
department records to cover up and hide their wrongful conduct.
42.      Defendant CITY OF NEW YORK has failed to take steps necessary to discipline, train, supervise or
otherwise correct the improper, illegal conduct of the individual defendants in this and in similar cases involving
misconduct.
43.      Defendant CITY OF NEW YORK has damaged the Plaintiffs by its failure to properly supervise, train,
discipline, review, remove, or correct the illegal and improper acts of its employees, agents or servants in this and
in similar cases involving police misconduct.
44.      Defendants subjected Plaintiffs to false arrest and false imprisonment.
45.      Plaintiffs have been damaged as a result of the wrongful, negligent and illegal acts of the defendant CITY
OF NEW YORK in the amount of One Million ($1,000,000.00) Dollars each.
                                            THIRD CAUSE OF ACTION
                                             (FOURTH AMENDMENT)
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46.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
47.     Defendant Officers arrested Plaintiffs subjecting them to false arrest, imprisonment and deprivation of
liberty with probable cause.
48.     That as a result of the foregoing, Plaintiffs have been deprived of his following rights, privileges and
immunities secured by the constitution and the laws of the United States: the right to be secure in his person and
effects against unreasonable search and seizure under the Fourth and Fourteenth Amendments; the rights of the
Plaintiffs not to be deprived of life, liberty or property without due process of law under the Fourth and Fourteenth
Amendments; and the right to be free from a deprivation of his civil rights in violation of the statutes made and
provided.
49.     Plaintiffs have been damaged as a result of the wrongful, negligent and illegal acts of the defendant CITY
OF NEW YORK in the amount of One Million ($1,000,000.00) Dollars each.
                                          FOURTH CAUSE OF ACTION
                                          (FOURTEENTH AMENDMENT)
50.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
51.     Defendant Officers illegally arrested Plaintiffs subjecting them to false arrest, imprisonment and
deprivation of liberty with probable cause.
52.     That as a result of the foregoing, Plaintiffs have been deprived of the following rights, privileges and
immunities secured by the constitution and the laws of the United States: the right to be secure in person and effects
against unreasonable search and seizure under the Fourth and Fourteenth Amendments; Plaintiffs’ rights not to be
deprived of life, liberty or property without due process of law under the Fourth and Fourteenth Amendments; and
the right to be free from a deprivation of his civil rights in violation of the statutes made and provided.
53.     Plaintiffs have been damaged as a result of the wrongful, negligent and illegal acts of the defendant CITY
OF NEW YORK in the amount of One Million ($1,000,000.00) Dollars each.
                                          FIFTH CAUSE OF ACTION
                                       (ASSAULT and EXCESSIVE FORCE)
54.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
55.     That the Court has pendant jurisdiction of this claim.
56.     That as a result of the foregoing, Defendant Officers intentionally put the Plaintiffs in fear and fright of
imminent physical harm.
57.     Plaintiffs have been damaged as a result of the wrongful, negligent and illegal acts of Defendant Officers,
NEW YORK CITY POLICE DEPARTMENT, and CITY OF NEW YORK in the amount of One Million ($
1,000,000.00) Dollars each.
                                           SIX CAUSE OF ACTION
                                       (BATTERY and EXCESSIVE FORCE)
58.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
59.     Defendant Officers battered the Plaintiffs.
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60.     Plaintiffs have been damaged as a result of the wrongful, negligent and illegal acts of Defendant Officers,
NEW YORK CITY POLICE DEPARTMENT, and CITY OF NEW YORK in the amount of One Million
($1,000,000.00) Dollars each.
                                          SEVENTH CAUSE OF ACTION
                                           (MALICIOUS PROSECUTION)
61.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
62.     Defendants caused a false accusatory instrument to be filed against Plaintiffs.
63.     The criminal instrument was dismissed and the criminal proceedings favorably terminated.
64.     Defendants have deprived Plaintiffs of civil, constitutional and statutory rights and have conspired to
deprive them of such rights and are liable to Plaintiffs under 42 U.S.C. §§ 1983 and 1985 and the New York State
Constitution.
65.     Plaintiffs were damaged in the sum of One Million ($1,000,000.00) Dollars each as a result of the
malicious prosecution implemented by the defendants.
                                EIGHTH CAUSE OF ACTION
          (CONDITIONS of CONFINEMENT/DELIBERATE INDIFFERENCE to MEDICAL NEEDS)
66.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.

67.     Defendant Officers subjected Plaintiffs to unlawful harassment and arrest.
68.     As a result of Defendants’ conduct, Plaintiffs suffered a loss of freedom and theft of property.

                                              NINTH CAUSE OF ACUTION
                                               (DENIAL of a FAIR TRIAL)
69.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.

70.     Defendant’s misrepresentations about Plaintiffs to prosecutors deprived Plaintiffs of liberty because they
were required to appear in court after the misrepresentations were made.

71.     Accordingly, defendants are liable to Plaintiffs under the Sixth Amendment for denial of a fair trial.

72.     As a result, Plaintiffs suffered the injuries as set forth within this complaint.

                                               TENTH CAUSE OF ACTION
                                           (CRUEL and UNUSUAL PUNISHMENT)
73.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
74.     As a result of defendants’ conduct, Plaintiffs unnecessarily suffered cruel and unusual punishment.
                                              ELEVENTH CAUSE OF ACTION
                                                        (NEGLIGENCE)
75.     Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth herein.
76.     Defendants’ owed a duty to Plaintiffs who were prisoners in the custody and care of defendants.
77.     Defendants breached their duty to Plaintiffs.
78.     As a result, Plaintiffs suffered injuries.
                                               REQUEST FOR RELIEF
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   WHEREFORE, Plaintiffs demand judgment against the defendants, jointly and severally as follows:

   A. In favor of Plaintiffs in the amount of One Million ($1,000,000.00) Dollars each on each of Plaintiffs’
   Causes of Action;

   B. Awarding Plaintiffs punitive damages in the amount of One Million ($1,000,000.00) Dollars each on each
   of Plaintiffs’ Causes of Action;

   C. Awarding Plaintiffs reasonable attorney’s fees, costs and disbursements of this action;

   D. Granting such other and further relief as this Court deems just and proper.

                                                 JURY DEMAND

   Plaintiffs demand a jury trial.

Dated: 23 September 2016
       New York, New York
                                       ______________/s/_________________________
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  Attachment 1: Criminal Court Complaint 2013KN078595
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    Attachment 1: Criminal Court Complaint 2013KN078595
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Attachment 2:
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Attachment 3: Criminal Court Complaint 2013KN086962
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Attachment 3: Criminal Court Complaint 2013KN086962
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                                                  Attachment 4:
